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                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            SA CR 19-00195-ODW-4

 Defendant           Alexander Michael Semenik                               Social Security No. 7         1   5   7
 akas:                                                                       (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH   DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.     MAY      9    2023

  COUNSEL                                                              Ron M. Cordova, panel
                                                                            (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO            NOT
                                                                                                               CONTENDERE        GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 32: 42:1320a-7b(b)(2)(A); 18:2(b): Illegal Remunerations in Connection with Federal Health Care Programs; Count
          43: 42:1320a-7b(b)(1)(A); 18:2(b): Illegal Remunerations in Connection with Federal Health Care Programs
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:
                     18 months on Counts 32 and 43 of the Indictment. This term consists of 18 months on each of
Counts 32 and 43 of the Indictment, to be served concurrently.


It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25
per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.


It is ordered that the defendant shall pay restitution to TRICARE in the total amount of $1,721,644.25 pursuant
to 18 U.S.C. § 3663A.
A partial payment of $1,000 shall be paid immediately. Restitution shall be due during the period of imprisonment,
at the rate of not less than $50 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility
Program. If any amount of the restitution remains unpaid after release from custody, nominal monthly payments
of at least 10% of defendant's gross monthly income but not less than $250, whichever is greater, shall be made
during the period of supervised release and shall begin 90 days after the commencement of supervision. Nominal
restitution payments are ordered as the Court finds that the defendant's economic circumstances do not allow for
either immediate or future payment of the amount ordered.


Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does
not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

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The defendant shall be held jointly and severally liable with co-defendants Marcus Orlando Armstrong, Leslie
Andre Ezidore, and Sandy Mai Trang Nguyen (case number 8:19CR00195-ODW) for the amount of restitution
ordered in this judgment. The victim’s recovery is limited to the amount of their loss and the defendant's liability
for restitution ceases if and when the victim receives full restitution.


The defendant shall comply with Second Amended General Order No. 20-04.


Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established an
inability to pay any fine.


Upon release from imprisonment, the defendant shall be placed on supervised release for a term of two years. This
term consists of two years on each of Counts 32 and 43 of the Indictment, all such terms to run concurrently under
the following terms and conditions:




              1. The defendant shall comply with the rules and regulations of the United States Probation &
                 Pretrial Services Office and Second Amended General Order 20-04.




              2. During the period of community supervision, the defendant shall pay the special assessment and
                 restitution in accordance with this judgment's orders pertaining to such payment.


              3. The defendant shall cooperate in the collection of a DNA sample from himself.




            4.       The defendant shall provide the Probation Officer with access to any and all business records, client
                     lists, and other records pertaining to the operation of any business owned, in whole or in part, by the
                     defendant, as directed by the Probation Officer.


            5.       The defendant shall apply all monies received from income tax refunds, lottery winnings,
                     inheritance, judgments and any other financial gains to the Court-ordered financial obligation.



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         6.          The defendant shall not obtain or possess any driver's license, Social Security number, birth
                     certificate, passport or any other form of identification in any name, other than the defendant's true
                     legal name, nor shall the defendant use, any name other than the defendant's true legal name without
                     the prior written approval of the Probation Officer.


         The Court recommends defendant to be housed in a facility in the Las Vegas, Nevada area.


         The Court recommends defendant to participate in the 500-hour RDAP.


         The drug testing condition mandated by statute is suspended based on the Court's determination that the
         defendant poses a low risk of future substance abuse.


         It is further ordered that the defendant surrender himself to the institution designated by the Bureau
         of Prisons at or before 12 noon, on August 9, 2023. In the absence of such designation, the defendant
         shall report on or before the same date and time, to the United States Marshal located at the First Street U.S.
         Courthouse 350 W. First Street, Suite 3001, Los Angeles, CA 90012.


         Pursuant to 18 U.S.C. § 3553(a), the Court shall impose a sentence sufficient, but not greater than
         necessary, to comply with the purposes set forth in paragraph (2) of this subsection. The Court, in
         determining the particular sentence to be imposed, shall consider -


         The nature and circumstances of the offense and the history and characteristics of the defendant;
         2.          The need for the sentence imposed --
               a.      To reflect the seriousness of the offense; to promote respect for the law, and to provide just
         punishment for the offense;
                     b.     To afford adequate deterrence to future criminal conduct;
                     c.     To protect the public from further crimes of the defendant; and
               d.           To provide the defendant with needed educational correctional treatment in the most effective
         manner.
         3.          The kinds of sentences available;
         4.          The guideline sentencing range;
         5.     The need to avoid unwarranted sentence disparities among defendants with similar records who have been
         found guilty of similar conduct.

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         6.          The need to provide restitution to any victims of the offense.




           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.




                       May 9, 2023
                       Date                                                   U. S. District Judge


           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.


                                                                              Clerk, U.S. District Court




                       May 9, 2023                             By             Sheila English /s/
                       Filed Date                                             Deputy Clerk




           The defendant must comply with the standard conditions that have been adopted by this court (set forth below).



                                     STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE



                                     While the defendant is on probation or supervised release pursuant to this judgment:




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           1.     The defendant must not commit another federal, state, or       9.    The defendant must not knowingly associate with any persons
                  local crime;                                                         engaged in criminal activity and must not knowingly associate
                                                                                       with any person convicted of a felony unless granted
           2.     The defendant must report to the probation office in the             permission to do so by the probation officer. This condition
                  federal judicial district of residence within 72 hours of            will not apply to intimate family members, unless the court
                  imposition of a sentence of probation or release from                has completed an individualized review and has determined
                  imprisonment, unless otherwise directed by the probation             that the restriction is necessary for protection of the
                  officer;                                                             community or rehabilitation;

           3.     The defendant must report to the probation office as           10.   The defendant must refrain from excessive use of alcohol and
                  instructed by the court or probation officer;                        must not purchase, possess, use, distribute, or administer any
                                                                                       narcotic or other controlled substance, or any paraphernalia
           4.     The defendant must not knowingly leave the judicial                  related to such substances, except as prescribed by a
                  district without first receiving the permission of the court         physician;
                  or probation officer;
                                                                                 11.   The defendant must notify the probation officer within 72
           5.     The defendant must answer truthfully the inquiries of the            hours of being arrested or questioned by a law enforcement
                  probation officer, unless legitimately asserting his or her          officer;
                  Fifth Amendment right against self-incrimination as to
                  new criminal conduct;                                          12.   For felony cases, the defendant must not possess a firearm,
                                                                                       ammunition, destructive device, or any other dangerous
           6.     The defendant must reside at a location approved by the              weapon;
                  probation officer and must notify the probation officer at
                  least 10 days before any anticipated change or within 72       13.   The defendant must not act or enter into any agreement with
                  hours of an unanticipated change in residence or persons             a law enforcement agency to act as an informant or source
                  living in defendant’s residence;                                     without the permission of the court;

           7.     The defendant must permit the probation officer to             14.   The defendant must follow the instructions of the probation
                  contact him or her at any time at home or elsewhere and              officer to implement the orders of the court, afford adequate
                  must permit confiscation of any contraband prohibited by             deterrence from criminal conduct, protect the public from
                  law or the terms of supervision and observed in plain                further crimes of the defendant; and provide the defendant
                  view by the probation officer;                                       with needed educational or vocational training, medical care,
                                                                                       or other correctional treatment in the most effective manner.
           8.     The defendant must work at a lawful occupation unless
                  excused by the probation officer for schooling, training,
                  or other acceptable reasons and must notify the probation
                  officer at least ten days before any change in
                  employment or within 72 hours of an unanticipated
                  change;




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             The defendant must also comply with the following special conditions (set forth below).



           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTION

                     The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
           fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
           Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to
           restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and
           costs must be paid by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money
           order must include the case name and number. Payments must be delivered to:

                     United States District Court, Central District of California



           Attn: Fiscal Department

                     255 East Temple Street, Room 1178

                     Los Angeles, CA 90012



           or such other address as the Court may in future direct.



                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must
           pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.



                    The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
           address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).



                     The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18
           U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or
           that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. §
           3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

                     Payments will be applied in the following order:

                              1. Special assessments under 18 U.S.C. § 3013;

                              2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United

                                States is paid):

                                         Non-federal victims (individual and corporate),

                                         Providers of compensation to non-federal victims,

                                         The United States as victim;

                              3. Fine;

                              4. Community restitution, under 18 U.S.C. § 3663(c); and

                              5. Other penalties and costs.




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                                                                           RETURN



           I have executed the within Judgment and Commitment as follows:

           Defendant delivered on                                                             to
           Defendant noted on appeal on
           Defendant released on
           Mandate issued on
           Defendant’s appeal
           determined on
           Defendant delivered on                                                             to

      at
                the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.


                                                                               United States Marshal


                                                                By
                     Date                                                      Deputy Marshal




                                                                       CERTIFICATE



           I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
           and in my legal custody.

                                                                               Clerk, U.S. District Court


                                                                By
                     Filed Date                                                Deputy Clerk




                                                      FOR U.S. PROBATION OFFICE USE ONLY



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         Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
         term of supervision, and/or (3) modify the conditions of supervision.



                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




                     (Signed)

                                Defendant                                                  Date




                                U. S. Probation Officer/Designated Witness                 Date




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